      Case 7:20-cr-00057-WLS-TQL Document 49 Filed 10/12/21 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             VALDOSTA DIVISION
UNITED STATES,                              :
                                            :
v.                                          :       CASE NO.: 7:20-cr-57 (WLS)
                                            :
JACOB ANTHONY GUTHRIE,                      :
                                            :
       Defendant.                           :
                                            :
                                           ORDER

       On April 8, 2021 Defendant filed a Motion to Suppress in this proceeding. (Doc. 26.)
This Court held a hearing on that motion on June, 8, 2021 (Doc. 37.) In that proceeding
arguments were heard, and the Court concluded that further briefing would facilitate the
equitable administration of justice. At the close of the proceeding the Court reviewed the
briefing schedule with the counsel of record. Defendant’s supplemental brief was due fourteen
(14) days following his receipt of the hearing transcript. (Doc. 48 at 48.) The Government
would then have twenty-one (21) days to file their supplemental brief, to be followed by the
Defendant’s reply brief seven (7) days after if he so desired. (Id., at 48-49.) The transcript of
the June 6, 2021 hearing was submitted on September 22, 2021. (Id.) Therefore, Defense
Counsel’s deadline to file their supplemental brief was October 6, 2021.
       To date, Defendant has not filed his supplemental brief. Defendant has had ample time
to file their supplemental brief but has not done so. Defendant is hereby ORDERED to file
his supplemental brief within seven (7) days of the entry of this order. The Government is
ORDERED to respond thereafter within twenty-one (21) days. Defendant will have seven
(7) days to file a reply brief if he so desires. The briefs are to be no longer than twenty (20)
pages in length.
       SO ORDERED, this 12th            day of October 2021.

                                            /s/ W. Louis Sands

                                            W. LOUIS SANDS, SR. JUDGE

                                            UNITED STATES DISTRICT COURT

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